     Case 3:19-cv-02315-W-MSB Document 11 Filed 04/20/20 PageID.36 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10
11   JAVIER CAMARILLO, et al.,                         Case No.: 19-CV-2315 W (MSB)
12                                   Plaintiffs,
                                                       ORDER GRANTING JOINT
13   v.                                                MOTION TO DISMISS WITH
                                                       PREJUDICE [DOC. 10]
14   STEVEN T. MNUCHIN, et al.,
15
                                   Defendants.
16
17        Pending before the Court is a joint motion to dismiss this case with prejudice.
18   Good cause appearing, the Court GRANTS the joint motion [Doc. 10] and ORDERS the
19   case DISMISSED WITH PREJUDICE.
20        IT IS SO ORDERED.
21   Dated: April 20, 2020

22
23
24
25
26
27
28

                                                   1
                                                                              19-CV-2315 W (MSB)
